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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NORTH DAKOTA


 In re:
                                                                        Jointly Administered Under
 Vanity Shop of Grand Forks, Inc.,                                      Case No. 17-30112

                   Debtor.                                              Chapter 11




                           NOTICE OF APPEARANCE AND
                    REQUEST FOR NOTICE AND SERVICE OF PAPERS
                            OF ORACLE AMERICA, INC.



          PLEASE TAKE NOTICE that Kesha L. Tanabe, Esq., hereby appears as counsel for

Oracle America, Inc. in the above-captioned proceeding, and pursuant to Fed. R. Bankr. P. 2002(g)

and 9010(b) and Local Rule 2002-5, requests that she be added to the mailing list maintained by

the Clerk in this case, and that all notices given or required to be given in this case, and all papers

served or required to be served in this case be given to and served on the following:

          Kesha L. Tanabe, Esq.
          4304 34th Ave. S.
          Minneapolis, MN 55406
          (612) 735-0188
          Email: kesha@tanabelaw.com

          PLEASE TAKE FURTHER NOTICE that the foregoing request includes notices and

papers referred to in the Federal Rules of Bankruptcy Procedure and also includes, without

limitation, notice of any orders, pleadings, motions, applications, complaints, demands, hearing,

requests or petitions, answering or reply papers, memoranda and briefs in support of any other

document brought before this Court with respect to this proceeding, whether formal or informal,




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whether written or oral, and whether transmitted or conveyed by e-mail, mail, hand delivery,

facsimile or telephone.

       PLEASE TAKE FURTHER NOTICE that Oracle America, Inc. intends that neither this

Notice of Appearance nor any subsequent appearance, pleading, claim, or suit shall waive: (1)

their right to have final orders in non-core matters entered only after de novo review by a District

Judge; (2) their right to trial by jury in any proceeding so triable herein, or in any case, controversy

or proceeding related hereto; (3) their right to have the withdrawal; or (4) any other rights, claims,

actions, defenses, setoffs or recoupments to which they are or may be entitled under agreements,

in law or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments are

expressly reserved.



Dated: October 23, 2017                         /e/ Kesha L. Tanabe
                                                Kesha L. Tanabe (#0387250)
                                                TANABE LAW
                                                4304 34th Ave S.
                                                Minneapolis, MN 55406
                                                Telephone: (612) 735-0188
                                                E-mail: kesha@tanabelaw.com

                                                COUNSEL TO ORACLE AMERICA, INC.




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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA


 In re:
                                                                      Jointly Administered Under
 Vanity Shop of Grand Forks, Inc.,                                    Case No. 17-30112

                    Debtor.                                           Chapter 11




                                UNSWORN CERTIFICATE OF SERVICE



          I, Kesha Tanabe, declare that, on October 23, 2017, I caused the following document(s):

                           NOTICE OF APPEARANCE AND
                    REQUEST FOR NOTICE AND SERVICE OF PAPERS
                            OF ORACLE AMERICA, INC.

to be filed electronically with the Clerk of Bankruptcy Court through ECF, and that ECF will
send an e-notice of the electronic filing to all ECF participants.


Dated: October 23, 2017                       TANABE LAW

                                              By: /S/ Kesha Tanabe
                                              Kesha L. Tanabe (#0387520)
                                              4304 34th Aves S.
                                              Minneapolis, MN 55406
                                              (612) 735-0188




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